
Merwin, J.
This action is brought to recover the amount of certain past due coupons taken from bonds issued by the defendant, the Town of Taylor, under the provisions of chap. 907 of the Laws of 1869, as amended by chap. 789 of the Laws of 1870, in aid of the Utica, Chenango &amp; Cortland Railroad Co.
The questions presented in this case are the same as those presented in the case of Stanton against the same defendant, de■cided at this term, and are sufficiently discussed in the opinion in that case in connection with the opinion in the case of Beattys v. The Town of Solon, also decided at this term.
The same order should be made here as in the Stanton case.
Hardin, P. J., and Martin, J., concur.
